                                    150ThirdAvenueSouth
                                                                                       www.pnfp.com
                                    Suite900
                                    Nashville,TN37201                                Phone800Ͳ264Ͳ3613

                                                                                       Account
RETURNSERVICEREQUESTED                                                               XXXXXXXX1400




                                  LGOrnamentals
                                  DebtorinPossession
                                  148StonecrestDrive
                                  Nashville,TN372095236




StatementofAccount                                                                                        Horizon75


 Balance1/01/21                          Summary
 $11,380.60
                                               Credits       + $3,395.00
 Balance1/31/21                         Interest      + $.00
 $12,324.49                             Debits        Ͳ $2,451.11

CreditTransactions
Deposits
1/05            RegularDeposit                                   3,395.00
TotalCredits                                                         $3,395.00



DebitTransactions
OtherDebits
1/11            CASTALIANSPRINGUTILITYBIL1621114334JAMES      39.21
                LIVINGSTON
1/11            ERIEINSGROUPERIEXPSPAYQ441051089             41.67
                1256038677LGOrnamentals
1/13            BETHPAGESTOREBETHPAGETN011321                    4.68
                101364894552Card#8092
1/13            3686PULASKIHWYTENNESSEANTRUC                    24.36
                CORNERSVILLETN011221Card#8092
1/13            5957HWY45BP#1755792EIGHTEIGHTMILEAL           53.29
                011221Card#8092
1/13            845BELLRDIN*GLBFINANCI615Ͳ5330817TN         175.00
                011221Card#8092




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                                    Operating Checking Page 1 of 5
                                                                  Page2of5
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AccountNumber:XXXXXXXX1400


1/14            16390US84LIBERTYONESTOEVERGREENAL011221Card#8092                              2.65
1/14            1412EBROADWAYTHEGALLATINCAGALLATINTN011321Card#8092                           12.00
1/14            1137ARKADELPHIARDSHELLOIL10007BIRMINGHAMAL011221Card#8092                     27.77
1/14            16390US84LIBERTYONESTOEVERGREENAL011221Card#8092                              54.88
1/14            12551COUNTYROAD4SHELLOIL10010BIRMINGHAMAL011221Card#8092                     55.43
1/22            100ASHFORDCTRNSTSEDCPAYMENT678Ͳ9062570GA012221Card#8092                      41.95
1/29            BETHPAGESTOREBETHPAGETN012921102964892948Card#8092                                7.72

Checks
1/13            Check1050                                                                                 1,910.50
TotalDebits                                                                                              $2,451.11
(*)Indicatesgapinchecknumbersequenece


AverageBalanceThisStatement                       $12,851.11      AnnualPercentageYieldEarned              .00%

InterestEarnedThisPeriod                                $.00      DaysinPeriod                                 31

InterestPaidYeartoDate                                 $.00      InterestPaid                                $.00



DAILYBALANCEINFORMATION
1/01                             11,380.60    1/13                    12,526.89      1/29                 12,324.49
1/05                             14,775.60    1/14                    12,374.16
1/11                             14,694.72    1/22                    12,332.21




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                                 IntentionallyLeftBlank




                                                                                Page4of5
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AccountNumber:XXXXXXXX1400                                        Date                1/29/21
                                                                    PrimaryAcctNo.    XXXXXXXX1400




         #0             01/05/2021       $3,395.00    #1050       01/13/2021           $1,910.50




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